     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 1 of 72 Page ID
                                      #:1644



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 9
10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
     MICHELE DEL VALLE; an individual, )                Case No.: 8:16-cv-02149
13   for herself and all members of the putative)
     class,                                     )       CLASS ACTION
14                                              )
                   Plaintiff,                   )       PLAINTIFF’S SUPPLEMENTAL
15                                              )       APPENDIX OF EVIDENCE
            v.                                  )
16                                              )       Date:          January 9, 2017
     GLOBAL EXCHANGE VACATION                   )       Time:          8:30 a.m.
17   CLUB, a California corporation;            )       Courtroom:     9C
     RESORT VACATIONS, INC., a Nevada )
18   corporation; GLOBAL VACATIONS              )       Judge:         David O. Carter
     MARKETING CORP., a Nevada                  )
19   corporation, GLOBAL EXCHANGE               )
     DEVELOPMENT, CORP., a Nevada               )
20   corporation, and DOES 1 through 100,       )
     inclusive,                                 )
21                                              )
                   Defendants.                  )
22                                              )
                                                )
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     _____________________________________________________________________________
                               PLAINTIFF’S SUPPLEMENTAL APPENDIX OF EVIDENCE
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 2 of 72 Page ID
                                 #:1645



          PLAINTIFF’S SUPPLEMENTAL APPENDIX OF EVIDENCE


6. Supplemental Declaration of John M. Bickford                PSA – 01295
   (Depositions)
     A. Deposition Transcript of Richard D. Sargent            PSA – 01299
     B.    Deposition Transcript of Myles Bryson               PSA – 01308
     C.    Deposition Transcript of Michele Del Valle          PSA – 01318
7. Supplemental Declaration of John M. Bickford                PSA – 01338
   (Documents)
     A. Great Destinations Inc. Declaration                    PSA – 01341
     B.    Yelp! Complaints                                    PSA – 01344
8. Declaration of Jeffrey A. Hansen in Support of Motion for   PSA – 01349
   Class Certification
     A. Declaration of Mary J. Arroz                           PSA – 01352
     B.    Declaration of Mark W. Daigle                       PSA – 01358
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 3 of 72 Page ID
                                 #:1646




                                EXHIBIT “6”
                                                                     PA - 01294
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 4 of 72 Page ID
                                      #:1647



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 9
10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
     MICHELE DEL VALLE; an individual, )                Case No.: 8:16-cv-02149
13   for herself and all members of the putative)
     class,                                     )       CLASS ACTION
14                                              )
                   Plaintiff,                   )       SUPPLEMENTAL DECLARATION
15                                              )       OF JOHN M. BICKFORD
            v.                                  )       (DEPOSITIONS)
16                                              )
     GLOBAL EXCHANGE VACATION                   )       Date:          January 9, 2017
17   CLUB, a California corporation;            )       Time:          8:30 a.m.
     RESORT VACATIONS, INC., a Nevada )
18   corporation; GLOBAL VACATIONS              )       Courtroom:     9C
     MARKETING CORP., a Nevada                  )       Judge:         David O. Carter
19   corporation, GLOBAL EXCHANGE               )
     DEVELOPMENT, CORP., a Nevada               )
20   corporation, and DOES 1 through 100,       )
     inclusive,                                 )
21                                              )
                   Defendants.                  )
22                                              )
                                                )
23
24
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     _____________________________________________________________________________
                         SUPPLEMENTAL DECLARATION OF JOHN M. BICKFORD (DEPOSITIONS)

                                                                                         PA - 01295
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 5 of 72 Page ID
                                      #:1648



 1               SUPPLEMENTAL DECLARATION OF JOHN M. BICKFORD
 2          I, John M. Bickford, declare as follows:
 3
 4          1.     I am an attorney duly licensed to practice before all courts of the State of
 5   California and an associate at the Parris Law Firm, attorneys of record for Plaintiff
 6   Michele Del Valle (“Plaintiff”) and the putative class.             The facts set forth in this
 7   declaration are within my personal knowledge and, if called as a witness, I could and
 8   would competently testify as follows:
 9
10          2.     On April 12, 2016, Plaintiff began the Person(s) Most Knowledge
11   Deposition of GEVC and RVI. Richard D. Sargent testified on behalf of GEVC and
12   RVI. Attached hereto as Exhibit “A” are true and correct copies of excerpts of Mr.
13   Sargent’s deposition.
14
15          3.     On April 13, 2016, Plaintiff continued the Person(s) Most Knowledge
16   Deposition of GEVC and RVI. Myles Bryson testified on behalf of GEVC and RVI.
17   Attached hereto as Exhibit “B” are true and correct copies of excerpts of Mr. Bryson’s
18   deposition.
19
20          4.     On April 14, 2016, Defendant GEVC took the deposition of Plaintiff.
21   Attached hereto as Exhibit “C” are true and correct copies of excerpts of Plaintiff’s
22   deposition.
23   ////
24   ////
25   ////
26   ////
27   ////
28   ////
                                                      1
     _____________________________________________________________________________
                          SUPPLEMENTAL DECLARATION OF JOHN M. BICKFORD (DEPOSITIONS)

                                                                                        PA - 01296
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 6 of 72 Page ID
                                      #:1649



 1         I declare under penalty of perjury under the laws of the United States of America
 2   that the foregoing is true and correct.
 3         Executed on this 23rd day of December 2016 at Lancaster, California.
 4
 5                                             _____________________________________
 6                                                         John M. Bickford
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                                                      2
     _____________________________________________________________________________
                          SUPPLEMENTAL DECLARATION OF JOHN M. BICKFORD (DEPOSITIONS)

                                                                                       PA - 01297
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 7 of 72 Page ID
                                 #:1650




                               EXHIBIT “A”
                                                                     PA - 01298
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 8 of 72 Page ID
                                 #:1651
                                      DEPOSITION OF RICHARD D. SARGENT


                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                            FOR THE COUNTY OF ORANGE



          MICHELE DEL VALLE, ON BEHALF   )
          OF HERSELF AND ALL OTHERS      )
          SIMILARLY SITUATED,            )
                                         )
                          PLAINTIFFS,    )
                                         )
                VS.                      ) NO.
                                         ) 30-2014-00745279-CU-MC-CXC
          GLOBAL EXCHANGE VACATION CLUB, )
          A CALIFORNIA CORPORATION; AND )
          DOES 1 THROUGH 100, INCLUSIVE, )
                                         )
                          DEFENDANTS.    )
          _______________________________)




                  VIDEOTAPED DEPOSITION OF RICHARD D. SARGENT

                             TUESDAY, APRIL 12, 2016

                                   9:59 A.M.




          REPORTED BY:

          VICTORIA K. DAVIS

          C.S.R. NO. 4192




                  DALENE COURT REPORTING        661.341.3929

                                                                     PA - 01299
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 9 of 72 Page ID
                                 #:1652
                                      DEPOSITION OF RICHARD D. SARGENT


     1    WHOLE INDUSTRY WENT THROUGH A LITIGATION SPREE WITH THESE

     2    INDIVIDUALS, THESE REAL ESTATE AGENTS.

     3         A    CORRECT.

     4         Q    SO WAS THERE ANY OTHER ENTITY SUING FOR -- NOT

     5    SUING.    SELLING TIME MEMBERSHIPS IN GEVC OR WAS IT JUST

     6    GLOBAL VACATIONS MARKETING CORP.?       AND I'M LIMITING IT TO

     7    JUST TO THAT TIME FRAME WE'RE TALKING ABOUT.

     8         A    JUST GLOBAL VACATIONS MARKETING CORP.

     9         Q    WHAT WAS YOUR POSITION IN GLOBAL VACATIONS

    10    MARKETING CORP.?

    11         A    PRESIDENT.

    12         Q    WHERE WAS IT LOCATED, HEADQUARTERS?

    13         A    IN MISSION VIEJO, CALIFORNIA.

    14         Q    WERE THERE OTHER OFF-SITE LOCATIONS?

    15         A    YES.

    16         Q    WHERE WERE THEY?

    17         A    WELL, LOCATIONS COME AND GO.       WE HAD MANY

    18    LOCATIONS SO IT DEPENDS ON HOW LONG, IF WE'RE DOING WELL.

    19    WE'VE BEEN IN CHICAGO, NAPA, SAN JOSE, ORANGE.         WE'VE

    20    BEEN IN SAN DIMAS, WE'VE BEEN IN ONTARIO, WE'VE BEEN IN

    21    OKLAHOMA CITY, WE WERE IN CANCUN -- EXCUSE ME, CABO SAN

    22    LUCAS, MEXICO.    IT JUST DEPENDS ON, SOMETIMES THEY LAST

    23    SIX MONTHS.

    24              WE USED TO DO SUBLEASES WHEN WE WERE VERY, VERY

    25    SMALL.    WE COULDN'T DO A FIVE-YEAR LEASE.      NOT ONLY DID
                                                                          15

                   DALENE COURT REPORTING       661.341.3929

                                                                     PA - 01300
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 10 of 72 Page ID
                                 #:1653
                                      DEPOSITION OF RICHARD D. SARGENT


      1    WE NOT QUALIFY BUT WE DIDN'T WANT TO TAKE THAT RISK.

      2        Q     SO THE CENTRAL OFFICE OF GLOBAL VACATIONS

      3    MARKETING CORP. WAS IN MISSION VIEJO?

      4        A     CORRECT.

      5        Q     BUT IT WOULD LEASE FOR A VARYING AMOUNT OF TIME

      6    OTHER OFF-SITE LOCATIONS TO PROVIDE THE TOURS?

      7        A     NO, TO PROVIDE THE SALES LOCATION TO GENERATE

      8    THE TOURS TO.

      9        Q     SO I THINK I DON'T UNDERSTAND THE DIFFERENCE

     10    BETWEEN THE SALES LOCATION AND THE TOURS.        IF YOU COULD

     11    DESCRIBE THE DIFFERENCE FOR ME.

     12        A     WELL, A TOUR IS A CUSTOMER.      SO THE CUSTOMER HAS

     13    TO HAVE SOMEWHERE TO GO.     SO THE SALES CENTERS OR SALES

     14    GALLERIES ARE WHERE SALES TOOK PLACE.       THE TOUR WOULD

     15    COME THERE FOR SCHEDULED TOUR TIMES.       WE NORMALLY OPERATE

     16    THURSDAY THROUGH SUNDAY EVERY TWO HOURS, YOU KNOW, 4:00,

     17    6:00 AND 8:00 ON A WEEKDAY, 2:00, 4:00, 6:00 OR 10:00,

     18    12:00, 2:00 AND 4:00 ON A WEEKEND AND WE'D SCHEDULE

     19    CLIENTS TO COME IN AT THOSE TIMES.

     20        Q     SO WHEN YOU USE THE WORD TOUR, WE'RE REFERRING

     21    TO INDIVIDUALS COMING TO HEAR THE SALES.

     22        A     A CONSUMER, YES, A CLIENT.

     23        Q     NOT A TOUR OF PHYSICAL PROPERTY, IT'S A LITTLE

     24    DIFFERENT.

     25        A     NO, JUST THE CLIENT WHO COMES IN.
                                                                           16

                   DALENE COURT REPORTING       661.341.3929

                                                                      PA - 01301
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 11 of 72 Page ID
                                 #:1654
                                        DEPOSITION OF RICHARD D. SARGENT


      1    BREAK.    IF NOT, WE'LL OPEN ANOTHER SUBJECT THAT WILL TAKE

      2    ANOTHER HOUR.

      3               MR. EHRLICH:   THAT'S FINE.

      4               THE VIDEOGRAPHER:    WE ARE NOW GOING OFF THE

      5    RECORD, THE TIME IS 11:57 A.M.

      6               (LUNCH RECESS.)

      7               THE VIDEOGRAPHER:    WE ARE NOW BACK ON THE

      8    RECORD, THE TIME IS 12:47 P.M.

      9        Q      BY MR. BICKFORD:    WHERE ARE THE SALES CENTERS

     10    FOR RVI?   PHYSICAL LOCATION.

     11        A      CURRENTLY?

     12        Q      CURRENTLY.

     13        A      ENCINO, NEWPORT BEACH AND ONTARIO.

     14        Q      DO YOU HAVE THE ADDRESSES?

     15        A      NO.

     16        Q      ARE THERE ADDITIONAL SALES CENTERS OPERATING

     17    UNDER THE NAME TRAVEL MEDIA?

     18        A      NO.

     19        Q      ANY ADDITIONAL SALES CENTERS OPERATING UNDER THE

     20    NAME SUNSET GETAWAYS?

     21        A      NO.

     22        Q      WHERE IS THE LOCATION OF RVI'S TELEMARKETING

     23    CENTERS?

     24        A      WE HAVE A TELEMARKETING CENTER IN SANTA ANA,

     25    IRVINE AND ARIZONA.     PHOENIX, I BELIEVE.
                                                                          80

                    DALENE COURT REPORTING      661.341.3929

                                                                      PA - 01302
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 12 of 72 Page ID
                                 #:1655
                                      DEPOSITION OF RICHARD D. SARGENT


      1    EXHIBIT 18 WHICH IS BATES STAMPED DEL VALLE 712 THROUGH

      2    726.    IT IS THE PHONE RECORDS OF THE PLAINTIFF, MICHELE

      3    DEL VALLE, FROM THE DATE OF SEPTEMBER 21ST, 2014 TO

      4    OCTOBER 20TH, 2014.

      5              THE WITNESS:    OKAY.

      6        Q     BY MR. BICKFORD:     EARLIER YOU TESTIFIED THAT RVI

      7    DOES NOT PROVIDE ITS LEADS TO MARKETING SOLUTIONS

      8    INTERNATIONAL; IS THAT CORRECT?

      9        A     ABSOLUTELY.

     10        Q     YOU ALSO TESTIFIED THAT RVI DOES NOT PROVIDE ITS

     11    LEADS TO INTERVOICE TECHNOLOGIES; IS THAT CORRECT?

     12        A     THAT IS CORRECT.

     13        Q     ON PAGE 718.

     14        A     OKAY.

     15        Q     YOU'LL SEE I'VE HIGHLIGHTED IT TO MAKE IT CLEAR.

     16        A     RIGHT.

     17        Q     7:02, A CALL CAME IN, ACTUALLY ON CALL WAITING,

     18    APPEARS TO BE, IF I'M READING THIS CORRECTLY, FROM A

     19    NUMBER 949-200-5342.

     20        A     OKAY.

     21        Q     DOES THAT NUMBER APPEAR ON THE NUMBERS LISTED IN

     22    DISCOVERY RESPONSE NINE FOR THOSE ASSOCIATED WITH

     23    MARKETING SOLUTIONS INTERNATIONAL?

     24        A     THAT'S THESE SIX NUMBERS, YES, LINE 27.

     25        Q     THAT WOULD INDICATE THAT MARKETING SOLUTIONS
                                                                         164

                   DALENE COURT REPORTING       661.341.3929

                                                                      PA - 01303
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 13 of 72 Page ID
                                 #:1656
                                       DEPOSITION OF RICHARD D. SARGENT


      1    INTERNATIONAL CALLED HER NUMBER; IS THAT CORRECT?

      2        A     THAT WOULD BE CORRECT.

      3        Q     AND I'LL ALSO NOTE THAT BASED UPON THIS NUMBER,

      4    THIS IS THE 949-439-8867 NUMBER.

      5        A     OKAY.

      6        Q     DO YOU AGREE THAT I'M READING THIS CORRECTLY TO

      7    YOUR KNOWLEDGE OF READING PHONE RECORDS?

      8        A     YES, IT APPEARS THAT THAT'S THE PHONE NUMBER.

      9        Q     SO MARKETING SOLUTIONS, BASED ON YOUR

     10    UNDERSTANDING READING THIS, MARKETING SOLUTIONS

     11    INTERNATIONAL DID CALL HER; IS THAT CORRECT?

     12        A     YES.

     13        Q     DO YOU HAVE ANY IDEA HOW MARKETING SOLUTIONS

     14    INTERNATIONAL OBTAINED THAT PHONE NUMBER?

     15        A     I HAVE NO IDEA.

     16              MR. EHRLICH:    I JUST WANT TO OBJECT, I BELIEVE

     17    THAT'S ANOTHER TOPIC THAT MILES IS PROBABLY BETTER AT

     18    ANSWERING.

     19              MR. BICKFORD:    I KNOW, AND PROBABLY REPEAT THE

     20    SAME QUESTIONS WITH HIM TOMORROW.

     21        Q     BY MR. BICKFORD:     TO YOUR KNOWLEDGE, DO YOU HAVE

     22    ANY IDEA IF MARKETING SOLUTIONS INTERNATIONAL GOT PRIOR

     23    EXPRESS CONSENT TO CALL THAT NUMBER?

     24        A     I HAVE NO IDEA.    I DON'T KNOW.

     25        Q     WHAT IS IT YOU'RE LOOKING FOR?
                                                                         165

                   DALENE COURT REPORTING       661.341.3929

                                                                      PA - 01304
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                                 #:1657




                                                                      PA - 01305
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 15 of 72 Page ID
                                 #:1658




                                                                      PA - 01306
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 16 of 72 Page ID
                                 #:1659




                                EXHIBIT “B”
                                                                      PA - 01307
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 17 of 72 Page ID
                                 #:1660
                                              DEPOSITION OF MYLES BRYSON


                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                   COUNTY OF ORANGE


           MICHELE DEL VALLE, an          )
           individual, for herself and    )
           all members of the putative    )
           class,                         )
                                          )
                    Plaintiff,            )
                                          )
                vs.                       )           CASE NO.30-2014-
                                          )           00745279-CU-MC-CXC
           GLOBAL EXCHANGE VACATION CLUB, )
           a California Corporation, and )
           DOES 1 THROUGH 100, inclusive, )
                                          )
                    Defendants.           )
           _______________________________)




                              DEPOSITION OF MYLES BRYSON
                              Wednesday, April 13, 2016
                               Los Angeles, California




           REPORTED BY:
           JULIA A. DOUVILLE
           CSR 9446 (Pages 1-133)

           -and-

           LEESA DURRANT
           CSR 11899 (Pages 134-252)
                                                                           1

                   DALENE COURT REPORTING       661.341.3929

                                                                      PA - 01308
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 18 of 72 Page ID
                                 #:1661
                                              DEPOSITION OF MYLES BRYSON


      1          Q      So in this case, what would that stand for?

      2          A      October.

      3          Q      October.   Okay.   Because ten is October?

      4          A      I believe so.

      5          Q      Then what's the six and the three?

      6          A      I don't know.   It may be nothing.     There's a

      7    source code as well that's inside here that would just

      8    identify the venue.

      9          Q      Okay.   Then next to that is -- what else do

     10    you know?

     11          A      Twenty-seven, I believe, is the date that the

     12    event took place on, either the 27th or the 24th.

     13          Q      Okay.

     14          A      Then from there, the other letter down to the

     15    NB is where we would say that the data is to the closest

     16    showroom.     That would be Newport Beach, NB would be

     17    Newport Beach.

     18          Q      Oh, so the closest sales center, Newport

     19    Beach?

     20          A      Correct.

     21          Q      Okay.   What's RVI's current sales locations?

     22          A      Newport Beach, Encino and Ontario.

     23          Q      How long has the Newport Beach sales center

     24    been open?     You can do month and year, year, whatever

     25    you've got.
                                                                         141

                     DALENE COURT REPORTING     661.341.3929

                                                                      PA - 01309
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 19 of 72 Page ID
                                 #:1662
                                              DEPOSITION OF MYLES BRYSON


      1          A      I think it's close to a year, I think.

      2          Q      What about the Encino location?

      3          A      A little bit longer than a year.

      4          Q      Ontario?

      5          A      A very new -- probably somewhere right around

      6    July.

      7          Q      So this lead was generated -- well, let's

      8    claim this.     I believe that in one of your discovery

      9    responses you said Del Valle signed up sometime in 2014.

     10    It also says "Newport Beach" here.

     11                 Was there another Newport Beach location?

     12          A      No.   I may have the date wrong when Newport

     13    opened.     I apologize.    I don't have the dates.

     14          Q      Since September 2010, have there been other

     15    sales locations?

     16          A      Since September -- well, Ontario was new.        So

     17    San Dimas was there before that and Long Beach was prior

     18    to that.

     19          Q      Any others?

     20          A      I don't believe so.

     21          Q      How long was San Dimas opened for?

     22          A      A long time.   I don't know the exact dates.

     23    Before I arrived.

     24          Q      But while you were there as well?

     25          A      Correct.
                                                                         142

                     DALENE COURT REPORTING     661.341.3929

                                                                      PA - 01310
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 20 of 72 Page ID
                                 #:1663
                                              DEPOSITION OF MYLES BRYSON


      1          Q      Okay.   Do you know why they moved or closed

      2    down?

      3          A      Just the showroom -- I think the lease was

      4    expiring and it was time to get to a new location.           They

      5    had been there a long time.

      6          Q      What about Long Beach, do you know

      7    approximately when?

      8          A      It was a temporary location.      It had bad

      9    internet service and things.       We just couldn't function

     10    properly.

     11          Q      Let's go back to talking about the

     12    telemarketers under the old Polycom phones.

     13          A      Okay.

     14          Q      So they would take these lead lists, Exhibit

     15    7, and they would call them; right?

     16          A      Correct.

     17          Q      When they were done, what would they do?        Go

     18    back for more?

     19          A      Correct.

     20          Q      Okay.   Exhibit 8 which is Bates stamped RVI 14

     21    through 16.

     22                 (Whereupon Plaintiffs' Exhibit 8 was marked

     23          for identification by the Court Reporter.)

     24    BY MR. BICKFORD:

     25          Q      What are we looking at here?
                                                                         143

                     DALENE COURT REPORTING     661.341.3929

                                                                       PA - 01311
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 21 of 72 Page ID
                                 #:1664
                                              DEPOSITION OF MYLES BRYSON


      1          Q      All right.   Okay.   This is Exhibit 41.

      2                 (Whereupon Plaintiffs' Exhibit 41 was marked

      3          for identification by the Court Reporter.)

      4    BY MR. BICKFORD:

      5          Q      Keep 40 in front of you.

      6          A      Okay.

      7          Q      And Exhibit 41 is Bates stamped Del Valle 712

      8    through 726.    It is the plaintiff's AT&T phone records

      9    for the period of September 21st, 2014 through October

     10    20th, 2014.

     11                 If you will flip to Del Valle 000718.

     12          A      Okay.

     13          Q      Do you see I have highlighted it to make it

     14    easy?

     15          A      Uh-huh.

     16          Q      You'll see that on Tuesday, September 30th,

     17    2014, plaintiff, Michelle Del Valle at 7:02 p.m.

     18    received a call and it went to her call waiting from a

     19    number (949) 200-5342?      Do you see that?

     20          A      Yes.

     21          Q      And is that one of the numbers listed that MSI

     22    uses?

     23          A      Yes.

     24          Q      And where is that?

     25          A      No. 27.
                                                                         227

                     DALENE COURT REPORTING     661.341.3929

                                                                      PA - 01312
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 22 of 72 Page ID
                                 #:1665
                                               DEPOSITION OF MYLES BRYSON


      1          Q      Line 27.    So based on this, it appears that
      2    MSI made a call to plaintiff, Michelle Del Valle on
      3    September 30th at 7:02 p.m.?
      4          A      It would appear.
      5          Q      And I will also note that the plaintiff had
      6    multiple cell phones during this time period and this
      7    was to her (949) 439-8867 number.         Do you see that?
      8          A      Yes.
      9          Q      If you'll go into Exhibit 41 that's the same
     10    number that Michelle Del Valle purportedly provided to
     11    RVI at one of the touch screen -- at the Gordon
     12    Lightfoot concert?
     13          A      Correct.
     14          Q      Yet RVI did not provide that number to
     15    Marketing Solutions International?
     16          A      Correct.
     17          Q      Does RVI know why Marketing Solutions
     18    International called Michelle Del Valle on September
     19    30th at 7:02?
     20          A      No.    Done with 41?
     21          Q      Leave the numbers in front of you.
     22          A      Forty-one?
     23          Q      You can put that aside.      Okay.    This is
     24    Exhibit 42 which is Del Valle 762 through 779, the
     25    plaintiff, Michelle Del Valle's AT&T phone records for
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                                EXHIBIT “C”
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                                        DEPOSITION OF MICHELE DEL VALLE


                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                    COUNTY OF ORANGE




                                           )
           MICHELE DEL VALLE, ON BEHALF OF )
           HERSELF AND ALL OTHERS SIMILARLY)
           SITUATED,                       )
                                           )
                             PLAINTIFFS,   )           CASE NO.
                                           )           30-2014-00745279-
               VS.                         )           CU-MC-CXC
                                           )
           GLOBAL EXCHANGE VACATION CLUB, A)
           CALIFORNIA CORPORATION; AND DOES)
           1 THROUGH 100, INCLUSIVE,       )
                                           )
                             DEFENDANTS.   )
           ________________________________)




                          DEPOSITION OF MICHELE DEL VALLE
                               THURSDAY, APRIL 14, 2016




           REPORTED BY:
           CLAUDIA BADANO, CSR 8974

                                                                           1

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                                        DEPOSITION OF MICHELE DEL VALLE


      1         A.     HE KNEW IT.

      2         Q.     DO YOU HAVE THE SAME ZIP CODE?

      3         A.     YES.

      4         Q.     THE NEXT PAGE, RVI 13, ASKS FOR YOUR TICKET

      5    NUMBER AND YOUR E-MAIL ADDRESS.        DO YOU RECALL WHETHER

      6    OR NOT -- DO YOU RECALL THAT BEING FILLED OUT?

      7         A.     I DON'T REMEMBER.    I -- YEAH.    I DON'T

      8    REMEMBER.

      9         Q.     DID YOUR BROTHER KNOW YOUR E-MAIL ADDRESS?

     10         A.     NO.    HE WOULDN'T KNOW IT.

     11         Q.     SO YOU HAD TO GIVE HIM THAT INFORMATION?

     12         A.     RIGHT.

     13         Q.     OKAY.    OTHER THAN AT THE GROVE -- I MAY HAVE

     14    ASKED THIS EARLIER TODAY.       I APOLOGIZE.

     15                OTHER THAN AT THE GROVE, DO YOU EVER RECALL

     16    EVER FILLING OUT A SIMILAR TYPE OF SCREEN SHOT ENTRY

     17    OR -- TO ENTER OR TO GIVE SOMEONE PERMISSION TO CALL

     18    YOU, ANYTHING LIKE THAT BEFORE?

     19         A.     I DON'T --

     20                MR. BICKFORD:   VAGUE AS TO TIME.

     21                MR. EHRLICH:    I THOUGHT I SAID EVER.

     22                THE WITNESS:    OH, I DON'T REMEMBER EVER.

     23    BY MR. EHRLICH:

     24         Q.     WHEN YOU SAY YOU DON'T REMEMBER, YOU MAY HAVE

     25    DONE IT OR YOU DON'T REMEMBER DOING IT OR DO YOU MEAN I
                                                                          28

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                                        DEPOSITION OF MICHELE DEL VALLE


      1    NEVER REALLY DID THAT BEFORE?

      2         A.     YOU KNOW, I WOULD REMEMBER THIS, AND I THINK

      3    THAT'S THE ONLY ONE I REMEMBER BECAUSE OF THE

      4    TECHNOLOGY OF IT.

      5         Q.     THE OTHER CASE THAT YOU HAD THAT YOU RESOLVED,

      6    TO THE BEST OF YOUR KNOWLEDGE, YOU WERE NOT CALLED

      7    BECAUSE YOU FILLED OUT A SCREEN SHOT SUCH AS THIS?

      8         A.     NO.

      9                MR. EHRLICH:    LET'S MARK THIS NUMBER 2.      I

     10    HAVE ONLY ONE MORE COPY BUT IT WAS SIX FROM YESTERDAY.

     11                MR. BICKFORD:   I KNOW WHAT IT IS.

     12                (DEFENDANTS' EXHIBIT 2 WAS MARKED FOR

     13                IDENTIFICATION AND ATTACHED TO AND

     14                MADE A PART OF THIS DEPOSITION.)

     15    BY MR. EHRLICH:

     16         Q.     SHOWING YOU WHAT'S BEEN MARKED --

     17                MR. BICKFORD:   LOOK AT IT REAL QUICK.

     18    BY MR. EHRLICH:

     19         Q.     -- NUMBER 2, I WILL ASK YOU TO TAKE A SECOND

     20    TO LOOK AT IT.     I WILL DIRECT YOUR ATTENTION, THOUGH,

     21    TO THE FOURTH PAGE AT THE VERY BOTTOM, IT SAYS RVI 4,

     22    THE WORDS "REDACTED" ARE ON IT.        IF YOU LOOK DOWN,

     23    YOU'LL SEE YOUR LAST NAME, "DEL VALLE."

     24         A.     OH, YES.

     25         Q.     ON THIS IT HAS YOUR NAME.
                                                                          29

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                                        DEPOSITION OF MICHELE DEL VALLE


      1    HAVE MADE CALLS TO THE COMPANY.

      2         Q.     OKAY.    AND THAT'S WHAT I'M GOING TO GET INTO

      3    IN A SECOND.

      4         A.     OKAY.

      5         Q.     AND, AGAIN, YOU WERE NOT CHARGED FOR THAT

      6    CALL?

      7         A.     NO.

      8         Q.     WHEN I SAY "CHARGED," I MEAN ANYTHING EXTRA.

      9         A.     RIGHT.

     10         Q.     SO THE CALLS THAT ARE THE BASIS FOR YOUR

     11    COMPLAINT -- YOUR CLAIM IN THIS CASE -- IN YOUR MIND

     12    WHATEVER YOU CAN RECOLLECT, CAN YOU GIVE ME THE

     13    SEQUENCE OF WHAT OCCURRED?       IN OTHER WORDS, DID SOMEONE

     14    CALL AND LEAVE A MESSAGE?       DID SOMEONE TRY TO CALL YOU?

     15    DID YOU GET A CALL?      DID YOU CALL SOMEONE BACK?       THAT'S

     16    WHAT I'M TRYING TO ASCERTAIN.

     17         A.     OKAY.    SO YOU WANT ME TO DESCRIBE WHAT -- WITH

     18    THIS COMPANY.

     19         Q.     AS BEST YOU CAN RECALL WHAT HAPPENED.

     20         A.     OKAY.    I DID GET A CALL.   I SPOKE WITH

     21    SOMEBODY.     THEN AFTER THE -- I DID GO SEE THE

     22    PRESENTATION.       AND THEN AFTER THE PRESENTATION WAS

     23    FINISHED, WITHIN I THINK A DAY OR TWO DAYS I WAS

     24    GETTING CALLS AGAIN.      THEY ASKED ME TO GIVE THEM

     25    NUMBERS OF FRIENDS OR FAMILY.        I SAID NO.    THEY KEPT
                                                                          38

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                                        DEPOSITION OF MICHELE DEL VALLE


      1    CALLING.

      2                AND THEN I DON'T -- THERE CAME A TIME WHERE I

      3    WAS SO FRUSTRATED THAT I DID SOME RESEARCH TO TRY AND

      4    FIND A COMPANY -- WHAT I REMEMBER IS ASKING THE PEOPLE

      5    WHERE ARE YOU CALLING FROM.

      6         Q.     OKAY.

      7         A.     AND THEN THEY WOULD -- I DON'T REMEMBER IF

      8    THEY TOLD ME, BUT SINCE THEY ALL HAD A FILIPINO ACCENT,

      9    I KNEW THEY WERE FROM THE PHILIPPINES, SO I FINALLY

     10    DECIDED THAT I WAS GOING TO DO SOME RESEARCH AND TRY

     11    AND FIND THE COMPANY IN THE UNITED STATES.

     12                I BELIEVE I DID RESEARCH ON THE INTERNET,

     13    FINALLY CAME WITH A NUMBER THAT WAS LOCATED IN IRVINE.

     14    AND I CALLED.       I ASKED FOR A SUPERVISOR.     I SPOKE WITH

     15    A SUPERVISOR AND I TOLD HIM HOW FRUSTRATED I WAS THAT

     16    THEIR COMPANY KEPT CALLING ME.        I ASKED THEM TO STOP

     17    CALLING ME, AND I WANT MY NUMBER TAKEN OFF OF THEIR

     18    CALL LIST.

     19                AND HE ACTUALLY SAID HE WAS VERY SORRY.        HE

     20    WOULD -- THAT HE WOULD GET AHOLD OF WHOEVER IS CALLING

     21    AND HAVE MY PHONE NUMBER TAKEN OFF.

     22         Q.     DID THE CALLS STOP?

     23         A.     NO.

     24         Q.     APPROXIMATELY HOW MANY MORE CALLS DID YOU GET?

     25         A.     I CAN'T TELL YOU HOW MANY MORE, BUT I --
                                                                           39

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      1         Q.     APPROXIMATELY.

      2         A.     I COULDN'T GIVE YOU A NUMBER.

      3         Q.     OKAY.

      4         A.     HONESTLY.   YEAH, I COULDN'T GIVE YOU A NUMBER.

      5    IT JUST -- THE VOLUME OF IT DIDN'T STOP.

      6         Q.     OKAY.

      7         A.     AND THEN I CALLED THE COMPANY AGAIN.

      8         Q.     OKAY.

      9         A.     I CALLED THE IRVINE COMPANY AGAIN.       GOT A

     10    DIFFERENT SUPERVISOR.       ADVISED HIM AGAIN, AND HE ALSO

     11    GAVE ME THE SAME STORY.       AND THE CALLS DIDN'T STOP.

     12         Q.     SO THE CALLS YOU WERE GETTING ARE MORE THAN

     13    THE CALLS YOU'VE SEEN SO FAR RIGHT HERE?

     14         A.     YEAH.   WHAT I REMEMBER, YEAH.     I DO REMEMBER

     15    MORE.

     16         Q.     APPROXIMATELY IN TOTAL, WERE THERE MORE THAN

     17    TEN CALLS?

     18         A.     OVER THE WHOLE COURSE OF TIME?

     19         Q.     YES.

     20         A.     OH, GOSH, YES.

     21         Q.     MORE THAN 20?

     22         A.     I COULDN'T GIVE YOU -- OVER TEN I COULD SAY

     23    YES.    BUT OVER ANOTHER NUMBER I CAN'T TELL YOU.

     24         Q.     ALL ON THE SAME PHONE NUMBER?

     25         A.     YOU KNOW, THAT I COULDN'T REMEMBER.        I
                                                                          40

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      1    HONESTLY COULDN'T REMEMBER.
      2         Q.     DO YOU KNOW THE NAME OF THE COMPANY THAT YOU
      3    WENT TO WHEN YOU ATTENDED THE PRESENTATION?
      4         A.     ISN'T IT GLOBAL -- GLOBAL, SOMETHING,
      5    EXCHANGE.     I KNOW IT WAS A TIMESHARE.
      6         Q.     OKAY.
      7         A.     VACATION TIMESHARE.
      8         Q.     AND WHERE WAS IT?
      9         A.     I WENT TO ONTARIO.
     10         Q.     DO YOU REMEMBER THE DATE YOU WENT?
     11         A.     NO.
     12         Q.     APPROXIMATELY MONTH?
     13         A.     NO.
     14         Q.     DID YOU GET A GIFT FOR ATTENDING?
     15         A.     I DID.
     16         Q.     DO YOU RECALL WHAT YOU RECEIVED?
     17         A.     I RECEIVED A GIFT CERTIFICATE FOR
     18    RESTAURANT.COM AND A VOUCHER FOR A FREE TRAVEL
     19    SOMEWHERE.
     20         Q.     DID YOU USE THE RESTAURANT.COM CERTIFICATE?
     21         A.     I USED SOME OF IT.
     22         Q.     OKAY.    DO YOU RECALL WHAT IT ENTAILED?
     23         A.     I BELIEVE IT WAS GOING ON THE WEBSITE, I
     24    THINK, AND CHOOSING A RESTAURANT AND THAT WAS IT.            AND
     25    THEN JUST GETTING A COUPON TO GO INTO THAT RESTAURANT.
                                                                          41

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                                        DEPOSITION OF MICHELE DEL VALLE


      1          Q.     TO GET EITHER A FREE MEAL OR A DISCOUNT OR

      2    SOMETHING LIKE THAT?

      3          A.     RIGHT, YES.

      4          Q.     AND HOW ABOUT THE TRAVEL CERTIFICATE, DO YOU

      5    RECALL WHAT THAT ENTITLED YOU TO?

      6          A.     I THINK IT WAS TO VEGAS OR SAN FRANCISCO.        I

      7    DON'T KNOW WHAT THE WHOLE THING ENTITLED -- IT ALL

      8    INCLUDED OR ANYTHING BECAUSE I NEVER USED IT.

      9          Q.     WHEN YOU CALLED TWICE TO THE COMPANY TO STOP

     10    THE CALLS, DO YOU RECALL ANY NAMES OF ANYONE YOU SPOKE

     11    TO?

     12          A.     I WISH I DID, BUT I DON'T.

     13          Q.     LET'S JUST GO BACK TO EXHIBIT 4 FOR A SECOND.

     14    THERE ARE A COUPLE MORE NUMBERS ON HERE OR ANOTHER

     15    NUMBER THAT I ALSO WANT TO CHECK.        SO ON 10:54 -- LET'S

     16    GO TO 766, I'M SORRY.      LET'S GO TO PAGE 766.

     17          A.     OKAY.

     18          Q.     ON DECEMBER 17 AT 10:54, THERE'S A CALL TO

     19    ORANGE COUNTY, (714) 912-6964.        IT LOOKS LIKE ONE

     20    MINUTE.      WHEN YOU CALLED -- YOU DON'T RECOLLECT WHAT

     21    THAT CALL WAS ALL ABOUT?

     22          A.     I DON'T.

     23          Q.     OKAY.   WHEN YOU CALLED TO -- STRIKE THAT.

     24                 PRIOR TO GOING TO THE PRESENTATION, DO YOU

     25    RECALL WHETHER OR NOT YOU EVER CALLED ANYONE TO CONFIRM
                                                                             42

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      1         Q.     OKAY.   PRIOR TO ATTENDING THE TIMESHARE

      2    PRESENTATION, DID THE TIMESHARE COMPANY MAIL YOU

      3    ANYTHING?

      4         A.     I DON'T THINK SO.

      5         Q.     PRIOR TO ATTENDING THE PRESENTATION, DID THE

      6    TIMESHARE COMPANY E-MAIL YOU ANY INFORMATION?

      7         A.     I DON'T REMEMBER ON THAT.

      8         Q.     IF THEY DID, WOULD YOU STILL HAVE IT?

      9         A.     PROBABLY NOT.

     10         Q.     YOU PROBABLY WOULD HAVE COMPLETED IT?

     11         A.     PROBABLY.   I THINK MY E-MAILS ONLY STAY FOR SO

     12    LONG.

     13         Q.     OKAY.   IF YOU CAN RECALL, PRIOR TO ATTENDING

     14    THE PRESENTATION -- AND, AGAIN, I ASKED THIS BEFORE BUT

     15    THIS IS A LITTLE MORE DETAIL -- DID ANYONE CALL YOU TO

     16    CONFIRM YOUR AGE, YOUR INCOME, ANYTHING OF THAT NATURE?

     17         A.     I DON'T.

     18         Q.     YOUR ADDRESS?

     19         A.     I DON'T REMEMBER THAT EVER HAPPENING.        FROM

     20    WHAT I CAN REMEMBER, CALLING -- THE PERSON WHO CALLED

     21    ME AND I SET UP THE TIME I BELIEVE WAS A VERY SHORT

     22    TIME SPAN FROM ME GOING TO IT, SO THAT'S ALL I CAN

     23    REMEMBER.

     24         Q.     ON THAT CALL WHEN IT WAS SET UP, THAT WAS ONE

     25    OF THESE -- WAS THAT PERSON FILIPINO THAT CALLED YOU?
                                                                           45

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                                        DEPOSITION OF MICHELE DEL VALLE


      1         A.     YES.

      2         Q.     AND THEY HAD TO TELL YOU WHERE TO GO AND WHAT

      3    TIME TO GO; CORRECT?

      4         A.     RIGHT.

      5         Q.     AND AS YOU SIT HERE TODAY, YOU DON'T RECALL

      6    WHETHER THEY E-MAILED YOU OR THEY MAILED YOU ANY

      7    INFORMATION PRIOR TO YOU ATTENDING?

      8         A.     I DON'T RECALL, NO.

      9         Q.     OKAY.    WHEN YOU SAY YOU DON'T RECALL, YOU

     10    DON'T REMEMBER THAT HAPPENING OR YOU DON'T REMEMBER IF

     11    IT DID ONE WAY OR THE OTHER?

     12         A.     YEAH, I DON'T REMEMBER IF IT DID ONE WAY OR

     13    THE OTHER.

     14         Q.     AT THAT TIME, DID YOU WRITE SOMETHING DOWN TO

     15    REMIND YOU OR IN YOUR APPOINTMENT BOOK OR YOUR CALENDAR

     16    OR ANYTHING LIKE THAT TO TELL YOU WHERE TO GO WHEN?

     17         A.     I'M SURE I WROTE SOMETHING DOWN, BUT IT

     18    PROBABLY WAS ON A PIECE OF PAPER THAT I TOOK WITH ME

     19    WITH DIRECTIONS.

     20         Q.     OKAY.

     21         A.     THAT'S THE ONLY THING I CAN THINK OF.

     22         Q.     WHEN YOU ATTENDED THE TIMESHARE PRESENTATION,

     23    DO YOU RECALL WHAT COMPANY THEY WERE SELLING THE

     24    TIMESHARE FOR OR THE NAME OF THE TIMESHARE, ANYTHING

     25    LIKE THAT?
                                                                          46

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                                        DEPOSITION OF MICHELE DEL VALLE


      1         A.     I KNOW IT HAD GLOBAL IN IT, THE GLOBAL -- ALL

      2    I CAN REMEMBER IS THE TWO WORDS GLOBAL AND EXCHANGE.

      3         Q.     OKAY.   GLOBAL EXCHANGE?

      4         A.     SOMETHING LIKE THAT.     I ONLY REMEMBER THE TWO

      5    WORDS.

      6         Q.     YOU EARLIER TESTIFIED THAT YOU ATTENDED A

      7    PRESENTATION AND THEN A DAY OR TWO LATER YOU STARTED

      8    GETTING CALLS AGAIN.

      9         A.     YES.

     10         Q.     PRIOR TO ATTENDING THE PRESENTATION, WERE YOU

     11    GETTING REGULAR CALLS?

     12         A.     FROM --

     13         Q.     FROM SOMEONE WITH A FILIPINO ACCENT?

     14         A.     NO.

     15         Q.     PRIOR TO ATTENDING THE PRESENTATION,

     16    APPROXIMATELY HOW MANY CALLS THAT YOU ANSWERED AND

     17    SPOKE TO?     WAS IT ONLY THAT ONE CALL WITH THE GENTLEMAN

     18    WITH THE FILIPINO ACCENT?

     19         A.     NO.

     20         Q.     APPROXIMATELY HOW MANY CALLS?

     21         A.     I DON'T REMEMBER HOW MANY CALLS, BUT WHAT I DO

     22    REMEMBER IS I GAVE IN TO GOING TO THE PRESENTATION SO

     23    HE WOULD STOP CALLING.

     24         Q.     OKAY.   SO HE HAD CALLED YOU -- SOMEONE HAD

     25    CALLED YOU A NUMBER OF TIMES?
                                                                          47

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      1         A.     YES.

      2         Q.     AND THEN I HAVE HERE A DAY OR TWO LATER GOT

      3    CALLS AGAIN.

      4         A.     YES.

      5         Q.     AND HOW OFTEN WERE THESE CALLS?

      6         A.     I COULDN'T -- I COULDN'T GIVE YOU --

      7         Q.     MORE THAN ONE A DAY?

      8         A.     YES.   AND FROM WHAT I REMEMBER, THERE WERE

      9    DIFFERENT NUMBERS THAT THEY WERE USING.          SOMETIMES THEY

     10    WERE 949 NUMBERS, AND OF COURSE I WOULD PICK THOSE UP

     11    BECAUSE IT WAS LOCAL.      THAT WAS MY AREA CODE.

     12         Q.     RIGHT.

     13         A.     SOMETIMES THERE WERE PRIVATE NUMBERS AND THEN

     14    THE WEIRD NUMBERS.      BUT I THINK -- I THINK I STOPPED

     15    TRYING TO ANSWER THOSE WEIRD NUMBERS, AND THEN THAT'S

     16    WHEN I STARTED GETTING THE 949 NUMBERS.

     17         Q.     WHEN YOU SAY "WEIRD NUMBERS," DOES THAT MEAN

     18    AREA CODES YOU DIDN'T RECOGNIZE?

     19         A.     YES.   YEAH.

     20         Q.     AFTER YOU ATTENDED THE PRESENTATION AND YOU

     21    STARTED GETTING CALLS AGAIN, WERE THEY TRYING TO GET

     22    YOU TO ATTEND THE PRESENTATION OR WERE THEY ONLY ASKING

     23    FOR NUMBERS OF FAMILY AND FRIENDS?

     24         A.     I DO REMEMBER THAT THEY DID TRY TO GET ME TO

     25    ATTEND A PRESENTATION BECAUSE THEN I WOULD HAVE TO TELL
                                                                          51

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      1    THEM, "LOOK, I DID GO."       AND I'M REMEMBERING THAT I

      2    THINK THAT'S WHERE LIKE FRUSTRATION STARTED SETTING IN

      3    EVEN MORE SO BECAUSE I DID GO AND THEN THESE PEOPLE

      4    WERE CALLING ME AGAIN.

      5         Q.     OKAY.    IF YOU RECALL, DID THE FILIPINO MEN OR

      6    THE LADY, WERE THEY TRYING TO GET YOU TO GO TO THE SAME

      7    PLACE?

      8         A.     YES.

      9         Q.     TO THIS GLOBAL EXCHANGE PLACE?

     10         A.     YES.

     11         Q.     AND WHEN YOU SAY YOU DID RESEARCH ON THE

     12    COMPANY, DO YOU RECALL WHAT YOU LOOKED UP?          EXCUSE ME.

     13    LET ME ASK YOU ANOTHER QUESTION.

     14                WHEN YOU SAY YOU DID RESEARCH, YOU WENT ONLINE

     15    TO DO THE RESEARCH?

     16         A.     RIGHT.

     17         Q.     AND DO YOU RECALL WHAT YOU LOOKED UP?

     18         A.     WELL, I LOOKED UP, I'M SURE, THE NAME OF THAT

     19    COMPANY.     AND THEN I DON'T KNOW -- I KNOW THAT BACK

     20    THEN I STILL WASN'T THAT COMPUTER SAVVY, SO IN THE WAY

     21    OF RESEARCH I WOULD START TYPING IN DIFFERENT THINGS TO

     22    BE ABLE -- YOU KNOW, LIKE THE AREA, ORANGE COUNTY,

     23    THINGS LIKE THAT TO BE ABLE TO GET THE PHONE NUMBER.

     24         Q.     AND DID YOU MAKE COPIES OR SAVE ANYTHING OF

     25    WHAT YOU RESEARCHED?
                                                                          52

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      1         A.     I DID NOT.

      2         Q.     AND YOU FOUND A NUMBER IN IRVINE THAT YOU

      3    CALLED AND SPOKE TO THE SUPERVISOR; RIGHT?

      4         A.     RIGHT.

      5         Q.     YOU DON'T RECALL HIS NAME?

      6         A.     NO.

      7         Q.     WAS THERE ANYTHING IN THE PHONE CALL THAT YOU

      8    HAD WITH THE SUPERVISOR THAT STOOD OUT OTHER THAN WHAT

      9    YOU'VE TESTIFIED TO ALREADY?

     10         A.     SHORT AND SWEET.

     11         Q.     SO MY NOTES -- THESE ARE MY NOTES, BUT JUST

     12    SUMMARIZING WHAT YOU SAID:       YOU TOLD HIM HOW FRUSTRATED

     13    YOU WERE.     HE SAID HE WAS SORRY AND HE SAID HE WOULD

     14    HAVE YOU TAKEN OFF THE CALL LIST.        YOU RECALL THAT?

     15         A.     THAT'S CORRECT.

     16         Q.     BUT THE CALLS DIDN'T STOP?

     17         A.     NO.

     18         Q.     WHAT I'M LOOKING FOR RIGHT NOW IS JUST YOUR

     19    BEST RECOLLECTION.       FROM THE TIME YOU ATTENDED THE

     20    PRESENTATION TO WHEN YOU CALLED THE SUPERVISOR, ABOUT

     21    HOW MUCH TIME HAD ELAPSED?       AND I KNOW, AGAIN, WE'RE

     22    GOING BACK.       JUST YOUR BEST ESTIMATE.

     23         A.     MY BEST ESTIMATE, TWO TO THREE MONTHS.

     24         Q.     YOU WERE GETTING CALLS FOR THAT LONG?

     25         A.     OH, YEAH, YEAH.
                                                                          53

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      1    AS TO WHAT CALL WENT ON WHAT PHONE IS KIND OF

      2    DIFFICULT.

      3         Q.     DO YOU STILL HAVE YOUR RESTAURANT.COM

      4    CERTIFICATE?

      5         A.     NO.

      6         Q.     DO YOU STILL HAVE ANYTHING THAT WOULD ALLOW

      7    YOU TO USE THE REST OF IT?       I THINK YOU SAID YOU USED

      8    PART OF IT.

      9         A.     NO.

     10         Q.     YOU HAVE NOTHING RELATED TO THAT?

     11         A.     NO.

     12         Q.     AND ONLINE, YOU DON'T HAVE ANYTHING?

     13         A.     NO.

     14         Q.     AND THE CERTIFICATE THAT ENTITLED YOU TO GO TO

     15    EITHER LAS VEGAS OR SAN FRANCISCO, DO YOU STILL HAVE

     16    THAT CERTIFICATE?

     17         A.     NO.   I THREW IT OUT.    IT HAD AN EXPIRATION

     18    DATE.

     19         Q.     OKAY.   DO YOU HAVE ANYTHING ONLINE ANYWHERE

     20    THAT REFERS TO IT THAT WOULD -- PERHAPS SOMETHING THAT

     21    REFERS TO IT OR RELATED TO IT?

     22         A.     NOT THAT I CAN RECALL.

     23         Q.     OKAY.   LET'S MOVE ON TO -- OH, LET ME ASK YOU:

     24    DID THERE COME A TIME WHEN THE PHONE CALLS FINALLY

     25    STOPPED?
                                                                          60

                     DALENE COURT REPORTING     661.341.3929

                                                                      PA - 01332
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 42 of 72 Page ID
                                 #:1685
                                        DEPOSITION OF MICHELE DEL VALLE


      1    APPROXIMATELY WHAT MONTH IT WAS AND YEAR?

      2         A.     I'M SORRY, NO.

      3         Q.     OKAY.    YOU TESTIFIED EARLIER THAT YOU

      4    CONTACTED MR. BICKFORD AFTER YOU ATTENDED THE TIMESHARE

      5    PRESENTATION; CORRECT?

      6         A.     YES.

      7         Q.     YOU STARTED GETTING CALLS AGAIN?

      8         A.     RIGHT.

      9         Q.     YOU SPOKE TO A SUPERVISOR --

     10         A.     YES.

     11         Q.     --AT GLOBAL EXCHANGE?

     12         A.     YES.

     13         Q.     GOT CALLS AGAIN?

     14         A.     YES.

     15         Q.     SPOKE TO A SUPERVISOR AGAIN?

     16         A.     CORRECT.

     17         Q.     AND FINALLY WENT TO SEE MR. BICKFORD?

     18         A.     YES.

     19         Q.     AND THEN AFTER YOU SAW MR. BICKFORD, THE CALLS

     20    STOPPED?     NOT COMPLETELY?

     21         A.     NO.

     22         Q.     DID YOU GET LESS CALLS WITH THE FILIPINO --

     23         A.     YES.

     24         Q.     CAN YOU RECALL WHETHER OR NOT THEY ALWAYS

     25    SAID -- I'M TALKING ABOUT AFTER YOU SAW MR. BICKFORD.
                                                                          66

                     DALENE COURT REPORTING     661.341.3929

                                                                      PA - 01333
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 43 of 72 Page ID
                                 #:1686
                                        DEPOSITION OF MICHELE DEL VALLE


      1    DID THEY STILL REFERENCE GLOBAL EXCHANGE, IF YOU CAN
      2    RECALL?
      3         A.     NO.    BECAUSE IN MY MIND WHEN I HEARD A
      4    FILIPINO, IT WAS LIKE I WAS PISSED.
      5         Q.     RIGHT.
      6         A.     SO I DON'T RECALL.     I STARTED YELLING AND
      7    SCREAMING IN THE PHONE, SO SORRY.         I DON'T RECALL WHAT
      8    THEY SAID.
      9         Q.     SO YOU ATTENDED THE PRESENTATION FOR THE
     10    TIMESHARE?
     11         A.     RIGHT.
     12         Q.     BEFORE YOU SAW MR. BICKFORD?
     13         A.     YES.
     14         Q.     APPROXIMATELY HOW MUCH TIME PASSED FROM THE
     15    PRESENTATION, AGAIN, WHETHER IT'S THREE MONTHS, SIX
     16    MONTHS, EIGHT MONTHS?
     17         A.     YOU KNOW, IT WOULD BE A GUESS.
     18         Q.     TOTAL GUESS?
     19         A.     SO YOU ARE OKAY WITH A GUESS?
     20         Q.     NO, I DON'T WANT A GUESS.      IF YOU CAN SAY IT
     21    WAS PROBABLY MORE THAN THREE MONTHS BUT LESS THAN SIX
     22    MONTHS OR SOMETHING LIKE THAT.         IT DOESN'T HAVE TO BE
     23    EXACT OR EVEN CLOSE TO EXACT.        BUT IF YOU HAVE NO
     24    RECOLLECTION --
     25         A.     BUT THAT'S STILL A GUESS.
                                                                          67

                     DALENE COURT REPORTING     661.341.3929

                                                                      PA - 01334
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 44 of 72 Page ID
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                                                                      PA - 01335
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                                 #:1688




                                                                      PA - 01336
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 46 of 72 Page ID
                                 #:1689




                                EXHIBIT “7”
                                                                      PA - 01337
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 47 of 72 Page ID
                                      #:1690



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 7    Facsimile: (661) 949-7524
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 9
10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12
      MICHELE DEL VALLE; an individual, )               Case No.: 8:16-cv-02149
13    for herself and all members of the putative)
      class,                                     )      CLASS ACTION
14                                               )
                    Plaintiff,                   )      SUPPLEMENTAL DECLARATION
15                                               )      OF JOHN M. BICKFORD
             v.                                  )      (DOCUMENTS)
16                                               )
      GLOBAL EXCHANGE VACATION                   )      Date:          January 9, 2017
17    CLUB, a California corporation;            )      Time:          8:30 a.m.
      RESORT VACATIONS, INC., a Nevada )
18    corporation; GLOBAL VACATIONS              )      Courtroom:     9C
      MARKETING CORP., a Nevada                  )      Judge:         David O. Carter
19    corporation, GLOBAL EXCHANGE               )
      DEVELOPMENT, CORP., a Nevada               )
20    corporation, and DOES 1 through 100,       )
      inclusive,                                 )
21                                               )
                    Defendants.                  )
22                                               )
                                                 )
23
24
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      _____________________________________________________________________________
                          SUPPLEMENTAL DECLARATION OF JOHN M. BICKFORD (DOCUMENTS)

                                                                                         PA - 01338
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 48 of 72 Page ID
                                      #:1691



 1               SUPPLEMENTAL DECLARATION OF JOHN M. BICKFORD
 2          I, John M. Bickford, declare as follows:
 3
 4          1.     I am an attorney duly licensed to practice before all courts of the State of
 5    California and an associate at the Parris Law Firm, attorneys of record for Plaintiff
 6    Michele Del Valle (“Plaintiff”) and the putative class.           The facts set forth in this
 7    declaration are within my personal knowledge and, if called as a witness, I could and
 8    would competently testify as follows.
 9
10          2.     On July 29, 2016, the state court ordered Great Destinations, Inc. to provide
11    a declaration under oath stating it “has conducted a search, and has no records of any
12    Great Destinations sales presentation meeting attendance, by Ms. Del Valle.” Attached
13    as Exhibit “A” is a true and correct copy of this declaration.
14
15          3.     Attached hereto as Exhibit “B” is a collection of Yelp! complaints left by
16    an individual with the username “Michele D.” I obtained them by performing the same
17    search described in Declaration of Mark R. Meyer. Highlights have been added to make
18    it easier to identify the complaint relating to Global Exchange Vacation Club.
19
20          I declare under penalty of perjury under the laws of the United States of America
21    that the foregoing is true and correct.
22          Executed on this 23rd day of December 2016 at Lancaster, California.
23
24                                              _____________________________________
25                                                          John M. Bickford
26
27
28

                                                     1
      _____________________________________________________________________________
                               SUPPLEMENTAL DECLARATION OF JOHN M. (DOCUMENTS)

                                                                                       PA - 01339
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                                EXHIBIT “A”
                                                                      PA - 01340
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                                                                      PA - 01341
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                                 #:1694




                                                                      PA - 01342
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                                 #:1695




                                EXHIBIT “B”
                                                                      PA - 01343
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 53 of 72 Page ID
                                      #:1696
                                                                                                                                                   Log In
                    Find tacos, cheap dinner, Max’s                                Near Los Angeles, CA

                   Home    About Me    Write a Review    Find Friends      Messages         Talk   Events




                                                                                                                            Add friend
                                                                                                                            Compliment

                                      Michele D.                                                                            Send message

                                      Costa Mesa, CA                                                                        Follow Michele D.

                                          9 Friends       35 Reviews             0 Photos                                   Similar Reviews




                                      Reviews
Michele's Profile                     Sort by: Date       All Locations           All Categories                                     Show First to Review


      Profile Overview                           Eat Chow
                                                 $ $ • American (New), Breakfast & Brunch
                                                 1802 Newport Blvd
      Friends                                    Costa Mesa, CA 92627


      Reviews                                              8/13/2014

                                      I went there this morning to get a little to eat and coffee while waiting for my car to be finished maybe 45 min to
      Compliments                     an hour. I brought my kindle to check my emails and surf the web while drinking my coffee. They were quick to
                                      come to my table but then again there were only 2 other tables with people. I ordered and asked the waiter for
                                      the wifi and he told me he did not have the password then I looked over and noticed another man with his
                                      laptop, ummm I wondered what wifi he was using? My toast was cold, the coffee was great, delicious and very
  Report this profile                 hot. I was ready to leave after half hour and tried to get my waiters attention to get my bill but a young blond girl
                                      walked in and both of the waiters eyes were fixated on her as I am waving my hand to get their attention on took
                                      a b line towards what I thought was me but he had one thing in his view and it was the girl. her table was behind
                                      mine so I kept trying to get his attention after he had finished with them but unfortunately I had to yell for my
                                      check. Still with only 4 other tables occupied. When I finally received my check I asked the waiter for future do
                                      you give the password out for customers and then he first said that when the managers are here but we are a
                                      small place and I interrupted with "so you don't want people to linger"? I also made mention about although I
                                      don't falt them for looking at a pretty girl and I am and older women and not blond with shorts up my but, You still
                                      need to pay attention to your other customers.
                                      Needless to say I will not be back due to the fact service was sexist and I believe because I only ordered toast
                                      and coffee I was not allowed to have the wifi password. Sadly they judged me and they did not even try to find
                                      out that I am a big tipper and I was only going to stay for half hour. And if management reads this it is too bad
                                      you hold your password to select customers. Oh and I grew up here and word of mouth is strong. So sadly you
                                      guys only deserve a one star and the lose of a high tipping customer.




                                                 Ruth’s Chris Steak House
                                                 $ $ $ • Steakhouses
                                                 2961 Michelson Drive
                                                 Irvine, CA 92612

                                                           7/23/2014

                                      I have to give a 5 rating, together with the food and excellent service by Gail our beautiful waitress they deserve
                                      it. Look forward to returning again.




                                                 Global Exchange Vacation Club ­ MOVED
                                                 Travel Services, Social Clubs
                                                 26691 Plaza Dr
                                                 Mission Viejo, CA 92691

                                                           5/27/2014



                                                                                                                                         PA - 01344
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 54 of 72 Page ID
                                                 #:1697
                   These are the same jerks that have been annoying me with calls for the past year and they are also with Great
                             Destinations. They are a call center based in the Philippines and they get 25.00 us for each booking. I have not
                             lost money with them but you that have really need to contact a lawyer to file a class action lawsuit. I am trying
                             to find one that will so it for Great Destinations. I even called the corporate phone number and they said they
                             would get them to stop and they can't even get them to stop.




                                        Cat Clinic Of Orange County ­ CLOSED
                                        Veterinarians, Pet Boarding/Pet Sitting
                                        1680 Tustin Ave
                                        Costa Mesa, CA 92627

                                                   5/27/2014

                             I wish I had read these reviews before taking my poor cat here. If you want to spend a lot of money first before
                             they even want to tell you anything then this is the place. Sadly enough they put on a great front. I brought my
                             cat there for the first time 4/30, 5/12 & 5/14. I bought the care card for 100.00. The first Dr Kelly I saw could not
                             look me straight in the eye and actually closed her eyes while talking to me. I asked her why my cat had a mass
                             and she said "I don't know". No mention it could be this or that and then told me I need a blood test and xrays.
                              When I took her for the blood test n went to pay they tried to charge 50.00 more. When then Dr. called about
                             the test results. She said it could be an infection and maybe cancer but we need an ultra sound. They quoted
                             me close too 500.00. I feaked because of may be cancer and asked do you know of any organization to help
                             with vet bill? The said no, nothing more. No concern about the cats comfort just the most expensive procedure.
                              I searched internet for organization and did find someone who called within an hour of my message. She paid
                             for an xray from another vet in Tustin. I took her the next day and by this time it was too bad. She had stopped
                             eating or drinking and I could not even force her too eat anymore. I was saddened by the fact she was in pain
                             and The Cat clinic didn't care they just wanted me to pay a lot of money before any diagnosis or treatment. This
                             all happened within 2 weeks.
                             I called the cat clinic to ask about some type of refund for the Cat care card I bought for 100.00 and I was told no
                             we can not give any kind of refund.
                             There was other conversation with the clinic management but she was of no help. She was willing to refund the
                             card when I complained about the fact on my first visit I left with no information at all about my cat just a list of
                             charges to diagnose something that should have been simple to do with an xray. But no that my cat was out of
                             pain and at peace with no thanks to them they did not want to refund anything. The visit would have cost 60.00
                             and you get 10% of credit for services. So they would nt even give a refund for that.
                             This clinic just cares for the dollar and at high prices not your cats health or well being.
                             There are better vets out there. I did not care paying to keep my cat healthy but they only care if you give them
                             the high cost of procedures maybe not need.
                             STOP RUN FORM THIS PLACE!!!!!!




                                        Great Destinations
                                        Travel Services
                                        765 The City Dr S
                                        Orange, CA 92868

                                                   5/23/2014    •     Updated review

                             Once again I have been called by those annoying telemarketers for this company. I was assured by a manager
                             that I would not have any more calls but once again this company has lied.




                                                   5/12/2014    • Previous review


                             I am looking for an attorney to file a class action law suit against this company. I have been… Read more


                                    Comment from Jeff G. of Great Destinations
                                    Business Manager
                               5/13/2014 • Michelle, thank you for your feedback and I am frustrated with the amount of calls you are
                               receiving… Read more



                                        AT&T
                                        $ $ • Mobile Phones




                                                                                                                               PA - 01345
Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 55 of 72 Page ID
                         298 E 17th St #:1698
                             Costa Mesa, CA 92627



                                       3/27/2014

                  Went there yesterday with a friend who bought a phone and I have 4 lines with them. Was told about the
                  promotion of mini Ipad. I did not have my wallet with me cause we walked so I came back later after Matt held a
                  mini ipad for me. He was busy so made an apt for 3:15, came back for that and Matt took a customer a few
                  minutes before I came in. I waited 1/2 hour only to be handed off to someone who was not getting the
                  commission so he was not happy. He asked my info then got up running around talking to other employees and
                  said nothing to me. Finally he came back to me to inform me I would have to give a 500.00 deposit because
                  they ran a credit check without telling me they were and without my permission. Now I am very angry that they
                  did not inform me that it was going to be done and I now have a hit on my credit that brings my score down.
                   Come to find out that it is because I have 4 lines. The guy was very unprofessional and just told me flat out that
                  I could not have it since I said I will not give a 500.00 deposit cause it was not even worth that much.
                  These guys in this store don't want to help unless you are buying something and if they do help they are
                  unhappy cause they are not making commission. They need an attitude adjustment or find another job.




                             Irvine Urgent Care
                             Urgent Care, Family Practice
                             2500 Alton Pkwy
                             Irvine, CA 92616

                                       3/14/2014

                  I would NEVER, NEVER go to this place if my life depended on it. I would rather DIE. The manager and his staff
                  are rude Condescending and they hang up on you for no reason. Accused me of being rude because she was
                  calling the wrong number and as I was telling her so that is when she got rude and hung up. Called back to talk
                  with manager and he just was sarcastic and laughing as the girls laughed in the back ground. If this is how they
                  treat someone on the phone how do you think they treat people who come in there. Go there at your own risk is
                  what it should say at the door.




                         Comment from Rachel F. of Irvine Urgent Care
                         Business Manager
                   4/28/2014 • This individual's # was dialed by mistake after which, our staff was simply unable to console
                   her… Read more



                             18004mytaxi
                             Taxis
                             Costa Mesa, CA 92626


                                       3/3/2014    •    Updated review

                  This company is the worst and am very surprised they are still in business. I used this morning only because I
                  was given 2­ 5.00 dollar vouchers because of the way the driver last time was speeding in a residential area and
                  padded the meter and tried to give me some crazy story that when I called to complain to their complaint
                  department she told me that his story was not true.
                  Today the 2 Hispanic operaters that answer the phone were rude to start off with because I told them I had a
                  voucher then put me on hold for a long time and I had to hang up and call back. One threatened me that my call
                  was being recorded which I told her I hope it was so they could hear how you speak and treat people. Then she
                  hung up on me and after I called back she said she hung up on me cause I was being rude.
                  So the taxi finally came and of course the meter was already at 4.00 and he takes the freeway to Newport blvd
                  then almost passes my street. Which he was probably trying to up the meter and go a round bout way. When
                  we were a block from my house the meter was close to 15.00 I told him that is crazy for the meter to be more
                  then 5.00 over what I paid a few weeks ago. He pulls over and says I am yelling at him and he is scared so
                  when he stopped I told him to unlock the door and I got out gave him the vouchers and said that was all I was
                  paying. During the driver he is telling me that the girls in the office are Bitches and I am thinking I can not
                  believe this is happening. I walked a block home rather then experience that.
                  I called to complain and was given a number to complain and when I called it had a recording saying the mail
                  box was full. Yeah full of complaints!
                  Never again with this company even if you gave me free rides. I rather pay money and have a good experience
                  then go thru that again.
                  This company SUCKS!!!!!




                                                                                                                   PA - 01346
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 56 of 72 Page ID
                                      #:1699


                                               2/6/2014   • Previous review


                       This is for the complaint department at 18004mytaxi. I called with my complaint and Grace returned… Read more



                                               2/3/2014   • Previous review


                       The driver arrived on time, I checked the meter that read 3.60 and they were just down the road. I… Read more


                                    Orange County PC Services
                                    IT Services & Computer Repair
                                    12552 Josephine St
                                    Garden Grove, CA 92841

                                               12/23/2013

                       Daniel was the best. He knows his stuff and was professional, fast and great pricing. I will use him always and
                       highly recommend him for all computer needs.
                       My computer runs better then ever now!




                              Comment from Daniel D. of Orange County PC Services
                              Business Owner
                        12/31/2013     •   Anytime you or your friends need help again, phone call away, thanks for your business




                                    Wicked ‘Wiches ­ CLOSED
                                    $ $ • Sandwiches
                                    3701 S Harbor Blvd
                                    Santa Ana, CA 92704

                                               8/23/2013

                       I gave it 2 star for the cleanliness, rather the lack of. The food was good but as I sat eating my sandwich and
                       noticed that the table had old food stuck to the sides and all the table tops were filthy and we went at 11:30am. I
                       wondered how clean could the kitchen be. And as you step in it was clear that the floor was wiped down with a
                       dirty mop and it may have been dark water cause I could see the pattern on the floor. Before I left I went to the
                       bathroom to wash my hands and there was a sign on the door that said out of order, which I didn't think twice
                       about but when I went inside the bathroom was even more filthy then the entire seating area. Wow I really don't
                       think I will go back there due to the lack and disregard for cleaning of a food establishment. Even the chalk
                       board that had their menu written on was not clear and hard to read what was written on it.
                       I have too wonder did anyone else see this or was it just me? Too bad that it shows that there is no care in their
                       business.




                       Page 3 of 4                                                                      Previous   1 2 3 4          Next




About                  Discover                                     Yelp for Business Owners            Languages
About Yelp             The Local Yelp                               Claim your Business Page            English
Order Food on Eat24    Yelp Blog                                    Advertise on Yelp
Careers                Support                                      Online Ordering from Eat24          Countries
Press                  Yelp Mobile                                  Yelp Reservations                   United States
Investor Relations     Developers                                   Business Success Stories
Content Guidelines     RSS                                          Business Support
Terms of Service                                                    Yelp Blog for Business Owners
Privacy Policy



                                                                                                                        PA - 01347
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                                 #:1700




                                EXHIBIT “8”
                                                                      PA - 01348
     Case 8:16-cv-02149-DOC-JCG Document 19-1 Filed 12/23/16 Page 58 of 72 Page ID
                                      #:1701



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 9
10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12
      MICHELE DEL VALLE; an individual, )                Case No.: 8:16-cv-02149
13    for herself and all members of the putative)
      class,                                     )       CLASS ACTION
14                                               )
                    Plaintiff,                   )       SUPPLEMENTAL DECLARATION
15                                               )       OF JEFFERY A. HANSEN IN
             v.                                  )       SUPPORT OF PLAINTIFF’S
16                                               )       MOTION FOR CLASS
      GLOBAL EXCHANGE VACATION                   )       CERTIFICATION
17    CLUB, a California corporation;            )
      RESORT VACATIONS, INC., a Nevada )
18    corporation; GLOBAL VACATIONS              )       Date:          January 9, 2017
      MARKETING CORP., a Nevada                  )       Time:          8:30 a.m.
19    corporation, GLOBAL EXCHANGE               )       Courtroom:     9C
      DEVELOPMENT, CORP., a Nevada               )       Judge:         David O. Carter
20    corporation, and DOES 1 through 100,       )
      inclusive,                                 )
21                                               )
                    Defendants.                  )
22                                               )
                                                 )
23
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      _____________________________________________________________________________
                                SUPPLEMENTAL DECLARATION OF JEFFREY A. HANSEN

                                                                                          PA - 01349
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                                 #:1702




                                                                      PA - 01350
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                                 #:1703




                                EXHIBIT “A”
                                                                      PA - 01351
 Case8:16-cv-02149-DOC-JCG
Case  8:16-cv-02149-DOC-JCG Document
                             Document1719-1  Filed
                                         Filed     12/23/16
                                               12/19/16      Page
                                                          Page 1 of61
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                                                                         72 ID
                                                                             Page ID
                                                                               #:1602
                                    #:1704


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      Resort Vacations, Inc.;
  7   Global Exchange Marketing Corp.;
      Global Exchange Development Corp.; and
  8   Global Exchange Vacation Club.

  9                                   UNITED STATES DISTRICT COURT
                                 FOR THE CENTRAL DISTRCT OF CALIFORNIA
 10                                        SOUTHERN DISTRICT

 11

 12   MICHELE DEL VALLE,                                    CASE NO.
                                                            8:16-cv-02149-DOC (JCGx)
 13                            Plaintiff,
 14
                       v.                                   DEFENDANTS’ OPPOSITION TO
 15                                                         MOTION FOR CLASS CERTIFICATION;
      GLOBAL EXCHANGE VACATION CLUB;
 16   RESORT VACATIONS, INC.;                               DECLARATION IN SUPPORT OF
      GLOBAL VACATIONS MARKETING CORP.;                     OPPOSITION RE: IVT
 17   GLOBAL EXCHANGE DEVELOPMENT
      CORP.;                                                Date:        January 9, 2017
 18
      and DOES 1 through 100, inclusive,                    Time:        8:30 a.m.
 19                                                         Courtroom:   9C
                               Defendants.                  Judge:       David O. Carter
 20

 21

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 28

       Case No. 8:16-cv-02149-DOC (JCGx)                                                            1
       Del Valle v. Global Exchange Vacation Club, et al.
       Opp. to Mtn. for Class Certification – Dec. re IVT
                                                                                           PA - 01352
 Case8:16-cv-02149-DOC-JCG
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                             Document1719-1  Filed
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                                    #:1705


  1                                                  DECLARATION
  2    I, Mary Joy De Arroz, declare:

  3   1.      Except for matters asserted on information and belief, which I am informed and believe to be

  4           true, I make this declaration of my personal knowledge and, if called as a witness, I could

  5           and would testify competently to the facts set forth herein.

  6   2.      I am the Managing Director of InterVoice Technologies (“IVT”). In my position, I am

  7           involved in the review and supervision of the operations of the company and, specifically, the

  8           clients of the business, the equipment used, and its capabilities to track phone calls. I have

  9           personal knowledge of the facts below.

 10   3.      IVT is involved in marketing.

 11   4.      In the past 4 years, IVT has had contracts with many companies in numerous industries.

 12   5.      The industries involved include Solar, Vacation Ownership, and Medical.

 13   6.      Clients include Senior Diabetic Network, Durable Medical, Direct TV, Go Solar, Suntana

 14           Energy, Wyndham Vacation Ownership, Resort Vacations Inc., Global Vacation Network.

 15   7.      “Global Vacation Network” is a distinct client from Resort Vacations Inc. headquartered in

 16           Florida, and is not involved in the “Global Exchange Vacation Club.”

 17   8.      IVT is a n ind ependent c ompany f rom it s c lients. IVT does not s hare ow nership, m anagement, or

 18           board members with any of its clients.

 19   9.      IVT has a cont ract w ith Resort V acations, Inc. (“RVI”) i n w hich IVT is p aid if IVT is abl e t o

 20           schedule qua lified prospective c lients for a presentation at one of RVI’s sales centers to market

 21           membership in Global Exchange Vacation Club.

 22   10.     IVT and RVI have no ownership connection.

 23   11.     Through IVT’s contacts with many companies, I am familiar with RVI’s business and industry.

 24   12.     Wyndham V acation O wnership and Global V acation Network a re i nvolved i n t he s ame

 25           industry.

 26   13.     Timeshare is about half of IVT’s business.

 27   14.     Of the calls related to timeshare, RVI makes up about half of the calls.

 28   //

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       Del Valle v. Global Exchange Vacation Club, et al.
       Opp. to Mtn. for Class Certification – Dec. re IVT
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  1   15.     RVI does not provides leads to IVT, RVI does not control or dictate how IVT contacts prospective

  2           leads, RVI does not decide what equipment IVT uses or how calls are made.

  3   16.     In connection with making marketing calls, IVT sets up separates daily campaigns for each account.

  4   17.     IVT does not separately track the phone calls related to campaigns. IVT only tracks when the phone

  5           number is called to determine when it can be called again.

  6   18.     IVT obtains data for contact information from data companies, such as Listshop, Market Approach,

  7           USA leads, and others.

  8   19.     IVT checks the federal do-not call (DNC) registry before dialing any of the numbers.

  9   20.     I understand that Michelle Del Valle has filed a suit against RVI based upon calls made by IVT.

 10   21.     RVI requested that IVT search for the following phone numbers to see if IVT had called them:

 11           a.       949-439-8867

 12           b.       714-325-7358

 13           c.

 14           d.       949-287-2405

 15           e.

 16           f.

 17   22.     After researching IVT phone records, we found that IVT called:

 18           a.       (949) 287-2405 on 12/04/14 at 7:22pm PST.

 19   23.     IVT is not able to determine whether this call was related to RVI or another client. P hone numbers

 20           are rotated among the various campaigns. At the time of the call, IVT was calling in connection with

 21           three timeshare companies, 2 medical plans, and others.

 22   24.     IVT ha s no w ay t o de termine i f t he c all w ould h ave be en r elated t o R VI unl ess t he pe rson c alled

 23           remembers w hat w as s aid on the phone c all. I VT is u nable to o btain any r eport or pr intout t hat

 24           provides this information. IVT’s phone records would not provide this information.

 25   //

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       Case No. 8:16-cv-02149-DOC (JCGx)                                                                                    3
       Del Valle v. Global Exchange Vacation Club, et al.
       Opp. to Mtn. for Class Certification – Dec. re IVT
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                                EXHIBIT “B”
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                                    #:1710


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      Email:         je@losch-ehrlich.com
  5                  mm@losch-ehrlich.com

  6   Attorneys for Defendants
      Resort Vacations, Inc.;
  7   Global Exchange Marketing Corp.;
      Global Exchange Development Corp.; and
  8   Global Exchange Vacation Club.

  9                               UNITED STATES DISTRICT COURT
                             FOR THE CENTRAL DISTRCT OF CALIFORNIA
 10                                    SOUTHERN DISTRICT

 11

 12   MICHELE DEL VALLE,                                    CASE NO.
                                                            8:16-cv-02149-DOC (JCGx)
 13                        Plaintiff,
 14
                    v.                                      DEFENDANTS’ OPPOSITION TO
 15                                                         MOTION FOR CLASS CERTIFICATION;
      GLOBAL EXCHANGE VACATION CLUB;
 16   RESORT VACATIONS, INC.;                               DECLARATION IN SUPPORT OF
      GLOBAL VACATIONS MARKETING CORP.;                     OPPOSITION RE: MSI
 17   GLOBAL EXCHANGE DEVELOPMENT
      CORP.;                                                Date:        January 9, 2017
 18
      and DOES 1 through 100, inclusive,                    Time:        8:30 a.m.
 19                                                         Courtroom:   9C
                           Defendants.                      Judge:       David O. Carter
 20

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       Case No. 8:16-cv-02149-DOC (JCGx)                                                            1
       Del Valle v. Global Exchange Vacation Club, et al.
       Opp. to Mtn. for Class Certification – Dec. re MSI
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                                                                               #:1608
                                    #:1711


  1                                              DECLARATION
  2    I, Mark W. Daigle, declare:

  3   1.     Except for matters asserted on information and belief, which I am informed and believe to be

  4          true, I make this declaration of my personal knowledge and, if called as a witness, I could

  5          and would testify competently to the facts set forth herein.

  6   2.     I was the Chief Operating Officer of Marketing Solutions, International (“MSI”). MSI is no

  7          longer in business. In my previous position, I was involved in the review and supervision of

  8          the operations of the company and, specifically, the clients of the business, the equipment

  9          used, and its capabilities to track phone calls. I have personal knowledge of the facts below.

 10   3.     MSI was involved in marketing.

 11   4.     MSI had contracts with many companies. Most of the contracts have confidentiality clauses,

 12          which prevent me from stating the names of the companies.

 13   5.     MSI’s clients are involved in many industries including, Solar, Timeshare, Medical, and Travel

 14          Clubs.

 15   6.     MSI was an independent company from its clients. MSI does not share ownership, management, or

 16          board members with any of its clients.

 17   7.     MSI ha d a contract with Resort Vacations, Inc. (“RVI”) in which MSI was paid if MSI was able to

 18          schedule qua lified prospective c lients for a presentation at one of RVI’s sales centers to market

 19          membership in the Global Exchange Vacation Club.

 20   8.     MSI and RVI have no ownership connection.

 21   9.     Through MSI’s involvement with many companies, I am familiar with RVI’s business and industry.

 22          It is sometimes known as “Timeshare” or “Vacation Ownership.”

 23   10.    Without br eaking a ny non -disclosure agreements, MSI al so had contracts with W yndham, a m uch

 24          larger company in the same “Timeshare” or “Vacation Ownership” industry.

 25   11.    Timeshare was only 20% of MSI’s business. M SI had contracts with Wyndham, Delta Travel, RVI,

 26          Great Destinations, Five Star R esorts, and others. The others have non-disclosure ag reements in

 27          place.

 28   //

       Case No. 8:16-cv-02149-DOC (JCGx)                                                                      2
       Del Valle v. Global Exchange Vacation Club, et al.
       Opp. to Mtn. for Class Certification – Dec. re MSI
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  1   12.    Of the calls related to timeshare, RVI made up about 20% of calls.

  2   13.    RVI d id not pr ovides leads t o M SI, R VI d id not c ontrol or d ictate how M SI contacts pr ospective

  3          leads, RVI did not decide what equipment MSI used or how calls were made.

  4   14.    In connection with making marketing calls, MSI set up separate daily campaigns for each account.

  5   15.    MSI cannot track phone numbers by campaign.

  6   16.    Phone numbers were only tracked to determine when it can be called again.

  7   17.    MSI purchased phone numbers from “Lead companies.”

  8   18.    MSI cannot determine a cell phone number from a landline.

  9   19.    MSI had a blocking system that does not allow a call to be connected if it is on the federal do-not call

 10          (DNC) registry.

 11   20.    I understand that someone has filed a suit against RVI based upon calls made by MSI.

 12   21.    RVI requested that MSI search for the following phone numbers to see if MSI had called them:

 13          a.      949-439-8867

 14          b.      714-325-7358

 15          c.

 16          d.      949-287-2405

 17          e.

 18          f.

 19   22.    After researching MSI phone records, we have found that 2 of the numbers were called by MSI.

 20          a.      (949) 439-8867 was called on 9-30-14

 21          b.      (949) 287-2405 was called on 12-14-14

 22   23.    MSI ha s no way of de termining w hich campaign these calls w ere made f or, i ncluding t he c alls s et

 23          forth above.

 24   //

 25   //

 26   //

 27   //

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       Case No. 8:16-cv-02149-DOC (JCGx)                                                                           3
       Del Valle v. Global Exchange Vacation Club, et al.
       Opp. to Mtn. for Class Certification – Dec. re MSI
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 1                             CERTIFICATE OF SERVICE
 2          I, John M. Bickford, an attorney, certify that on December 23, 2016, I served
 3    the above and foregoing PLAINTIFF’S SUPPLEMENTAL APPENDIX OF
      EVIDENCE, by causing true and accurate copies of such paper to be filed and
 4
      transmitted to the persons shown below via the Court’s CM/ECF electronic filing
 5    system, on this the 23rd day of December 2016.
 6
                                    Joseph Ehrlich, Esq.
 7                                  Mark R. Meyer, Esq.
 8                                   LOSCH & EHRLICH
                               425 California Street, Suite 2025
 9                             San Francisco, California 94104
10                               Telephone: (415) 956-8400
                                 Facsimile: (415) 956-2150
11
                                Email: je@losch-ehrlich.com
12                                 mm@losch-ehrlich.com
13
14                                  /s/ John M. Bickford
15                                    John M. Bickford
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